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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF INDIANA

  PEOPLE FOR THE ETHICAL TREATMENT
  OF ANIMALS, INC.,

                        Plaintiff,

                          v.
                                                          Civil Action No. 4:17-cv-186
  WILDLIFE IN NEED AND WILDLIFE IN
  DEED, INC., TIMOTHY L. STARK, and
  MELISA D. STARK,


                        Defendants.


              VERIFIED COMPLAINT FOR INJUNCTIVE AND OTHER RELIEF

  I.     INTRODUCTION

         1.      This is a citizen lawsuit, brought pursuant to Section 11(g)(1)(A) of the

  Endangered Species Act (“ESA”), 16 U.S.C. §§ 1531-1544, to address ongoing violations of the

  ESA and its implementing regulations arising out of Defendants’ operation of Wildlife in Need

  and Wildlife in Deed, Inc. (“Wildlife in Need”), located in Charlestown, Indiana.

         2.      Wildlife in Need is an unaccredited roadside zoo that confines and exhibits

  numerous species of animals, including tigers, lions, and hybrids of those animals (“Big Cat(s)”).

         3.      Plaintiff, People for the Ethical Treatment of Animals, Inc. (“PETA”), brings suit

  against Wildlife in Need and its principals Timothy L. Stark and Melisa D. Stark (collectively

  “Defendants”) for their ongoing “take” of Big Cats in violation of the ESA and its implementing

  regulations.

         4.      Specifically, Defendants (1) declaw several of the Big Cats in medically

  unnecessary procedures that amputate each digit at the ultimate joint, thereby wounding,
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  harming, and harassing them; (2) separate Big Cat cubs from their mothers at too early an age

  and forcing them into direct contact with members of the public, thereby harming and harassing

  them; and (3) confine the Big Cats in woefully inadequate enclosures, void of adequate shelter,

  necessary enrichment, and environmental enhancement, including appropriate substrates on

  which to walk and adequate space to roam, climb, and swim, thereby harming and harassing

  them.

          5.     These practices “wound,” “harm,” and “harass” the Big Cats in violation of the

  ESA’s “take” prohibition by causing them physical and psychological injury and distress, and

  significantly disrupting and impairing them from carrying out their natural behaviors in a manner

  that is likely to result in significant physical and psychological injury.

  II.     JURISDICTION AND VENUE

          6.     This Court has subject matter jurisdiction pursuant to the citizen suit provision of

  the ESA, 16 U.S.C. § 1540(g), and has federal question jurisdiction under 28 U.S.C. § 1331.

          7.     On July 27, 2017, PETA provided notice of its intent to file suit (“Notice of

  Intent”) to Defendants, the Secretary of the Interior, and the Acting Director of the U.S. Fish and

  Wildlife Service (“FWS”). The Notice of Intent is attached and incorporated as Exhibit A. It was

  served more than sixty days prior to the filing of this action. 16 U.S.C. § 1540(g)(2)(A)(i).

          8.     Defendants have not remedied the violations set out in the Notice of Intent.

          9.     The Secretary of the Interior has not commenced an action against Defendants to

  impose a penalty pursuant to the ESA or its implementing regulations, and the United States has

  not commenced a criminal prosecution against Defendants to redress a violation of the ESA or

  its implementing regulations. 16 U.S.C. § 1540(g)(2)(A)(ii)–(iii).




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         10.     The Court has personal jurisdiction over the Defendants Timothy L. Stark and

  Melisa D. Stark because they reside in the Southern District of Indiana and conduct their

  business within this District. This Court also has personal jurisdiction over Wildlife in Need

  because it is an Indiana Corporation with its principal place of business in this District.

         11.     Venue is proper in the Southern District of Indiana because the violations of the

  ESA alleged in this Complaint have occurred, and continue to occur, within this judicial district.

  16 U.S.C. § 1540(g)(3)(A).

  III.   THE PARTIES

         12.     PETA is a Virginia non-stock corporation and animal protection charity pursuant

  to Section 501(c)(3) of the Internal Revenue Code. Its headquarters are located in Norfolk,

  Virginia.

         13.     Defendant Wildlife in Need is an Indiana corporation located at 3320 Jack Teeple

  Road, Charlestown, IN 47111. On information and belief, Wildlife in Need owns and exhibits

  the Big Cats that are the subject of this action.

         14.     Defendant Timothy “Tim” L. Stark is a resident of Clark County, residing on the

  premises of Wildlife in Need at 3320 Jack Teeple Road, Charlestown, IN 47111. Mr. Stark is and

  was at all relevant times the registered agent and principal of Wildlife in Need. On information

  and belief, Mr. Stark acts on behalf of Wildlife in Need by, among other things, overseeing its

  day-to-day operations, managing animal care, acting as the primary animal care giver,

  supervising volunteers, and participating in U.S. Department of Agriculture (“USDA”)

  inspections.

         15.     Defendant Melisa D. Stark is the wife of Tim Stark and resides with him on the

  premises of Wildlife in Need at 3320 Jack Teeple Road, Charlestown, IN 47111. Mrs. Stark is



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  and was at all relevant times a corporate officer of Wildlife in Need. On information and belief,

  Mrs. Stark acts on behalf of Wildlife in Need by, among other things, assisting Mr. Stark in

  overseeing its day-to-day operations, managing animal care, acting as an animal care giver,

  supervising volunteers, and participating in USDA inspections.

  IV.    STATUTORY BACKGROUND

         16.     The ESA defines an “endangered species” as “any species which is in danger of

  extinction,” 16. U.S.C. § 1532(6), and a “threatened species” as “any species which is likely to

  become an endangered species within the foreseeable future,” id. § 1532(20).

         17.     The ESA prohibits the “take” of any endangered species within the United States.

  Id. § 1538(a)(1)(B); 50 C.F.R. § 17.21. It likewise prohibits the taking of any threatened species

  within the United States unless otherwise provided by a special rule. 16 U.S.C. § 1538(a)(1)(G);

  50 C.F.R. §17.31(a).

         18.     The ESA also prohibits additional activities including, among others, importing,

  exporting, transporting in the course of a commercial activity, and selling or offering for sale in

  interstate commerce a protected species. 16 U.S.C. §1538(a)(1).

         19.     The ESA defines the term “take” to include “harass, harm, pursue, hunt, shoot,

  wound, kill, trap, capture, or collect, or to attempt to engage in any such conduct.” 16 U.S.C.

  § 1532(19).

         20.     The term “harm” is defined by regulation as an act which “kills or injures” an

  endangered or threatened animal. 50 C.F.R. § 17.3. The term “harass” is defined by regulation to

  include an “intentional or negligent act or omission which creates the likelihood of injury to

  wildlife by annoying it to such an extent as to significantly disrupt normal behavioral patterns

  which include, but are not limited to, breeding, feeding, or sheltering.” Id. The term “wound” is



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  not defined by the ESA or its regulations. Its New Oxford American Dictionary definition, as a

  verb, is “to inflict an injury on”; as a noun, wound is defined as “an injury to living tissue when

  caused by a cut, typically one in which the skin is cut or broken.”

         21.     Under the ESA, it is also illegal to possess any unlawfully taken endangered

  species, or any unlawfully taken threatened species unless otherwise provided by a special rule.

  16 U.S.C. § 1538(a)(1)(D), (G); 50 C.F.R. §§ 17.21(d), 17.31(a).

         22.     The ESA authorizes the Secretary of the Interior to issue a permit for any act that

  is otherwise prohibited by 16 U.S.C. § 1538, but only if such act is “for scientific purposes or to

  enhance the propagation or survival of the affected species” and other strict requirements are

  met. 16 U.S.C. § 1539(a)(1)(A), (c), (d).

         23.      The ESA allows citizens to bring suit to enjoin “any person . . . who is alleged to

  be in violation” of the “take” provisions of the statute or of a regulation promulgated under the

  statute. Id. § 1540(g)(1)(A).

         24.     Tigers are listed as “endangered” under the ESA. 50 C.F.R. § 17.11(h). Lions are

  listed as either “endangered” or “threatened” depending upon their subspecies—the subspecies

  Panthera leo leo is listed as “endangered” and the subspecies Panthera leo melanochaita is listed

  as “threatened.” Id. §§ 17.11(h), 17.40(r). PETA does not know the subspecies of the lions at

  issue; however, the “take” and the possession of unlawfully taken members of both subspecies is

  equally prohibited by the ESA. Id. §§ 17.21, 17.31(a), 17.40(r).

  V.     FACTUAL BACKGROUND

          25.    Wildlife in Need is an unaccredited roadside zoo in Charlestown, Indiana.

  Wildlife in Need confines and exhibits numerous Big Cats and charges the public a fee to




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  interact with Big Cats from infancy up to approximately twenty weeks of age, and to view

  juvenile and adult Big Cats confined on the premises.

          26.    Defendants do not possess a permit from the Secretary of the Interior to “take”

  tigers, lions, or hybrids of these animals under 16 U.S.C. § 1539(a)(1)(A). Indeed, Mr. Stark is

  precluded from obtaining such a permit, see 50 C.F.R. § 13.21, because he was previously

  convicted of violating the ESA, having pled guilty to the unlawful receipt, transport, and

  shipping of an endangered species in interstate commerce in the course of commercial activity.

          27.    When Mr. Stark previously applied to FWS for an ESA permit, he failed to

  disclose this prior conviction on his application, which he was required to do. In denying Mr.

  Stark’s permit application, FWS also found that Mr. Stark also initially failed to disclose on his

  application that he was previously charged with obtaining migratory birds without the necessary

  permit under the Migratory Bird Treaty Act. Additionally, Mr. Stark failed to demonstrate that

  he had the requisite knowledge and expertise to enhance the survival and propagation of the

  various species, and FWS noted his many USDA citations for failure to provide adequate

  veterinary care and to maintain adequate facilities. Finally, FWS noted that Wildlife in Need’s

  activities are associated with the entertainment industry, which is contrary to the purpose of the

  permitting program, which is to enhance the propagation of protected species.

          28.    Over the past five years, the USDA has issued Defendants more than fifty

  citations for failing to meet minimal requirements for proper care of the animals in their

  possession under the federal Animal Welfare Act (“AWA”), 7 U.S.C. § 2143(a)(2). The ESA

  and AWA are separate statutory schemes that apply concurrently and in full to captive members

  of endangered species. They are distinct but complementary statutes, each with its own scope,

  purpose, and enforcement mechanism. Although the AWA provides minimal protections for



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  animals held and exhibited in captivity, the ESA provides additional, heightened protections that

  apply to specific protected animals, including the Big Cats that are the subject of this litigation.

          29.    The USDA’s inspection reports detail Defendants’ ongoing disregard for the

  welfare of the Big Cats and demonstrated inability to provide proper care for them. Defendants’

  chronic and willful disregard for the welfare of the Big Cats led to suspensions of Mr. Stark’s

  AWA license to exhibit animals to the public in 2015 and 2017. These suspensions demonstrate

  the seriousness of the welfare violations, as the USDA primarily relies upon warnings to enforce

  the law and suspensions are exceedingly rare, reserved for the worst violations. Defendants

  continued to unlawfully exhibit the animals during the 2017 suspension period, resulting in a

  further USDA citation. The USDA also has a pending enforcement action against Mr. Stark and

  Wildlife in Need over a long list of AWA violations.

          30.    Mr. Stark has accumulated numerous USDA citations, including for declawing

  Big Cat cubs, exposing tiger cubs to rough and excessive handling during public encounters,

  hitting tigers with riding crops, and failing to obtain adequate veterinary care for several animals,

  including declawed Big Cat cubs who suffered complications from the procedure and leopards

  suffering from metabolic bone disease, one of whom Stark beat to death with a baseball bat.

  A. DEFENDANTS WOUND, HARM, AND HARASS PROTECTED BIG CATS BY DECLAWING THEM

         31.     Defendants declaw Big Cat cubs in violation of the ESA, wounding, harming, and

  harassing them.

         32.     Declawing Big Cats is illegal and violates the ESA because it can cause ongoing

  pain, discomfort, or other pathological conditions in the animals.1



  1 See USDA Animal Care Policy Manual, Policy #3, Veterinary Care (Mar. 14, 2014),

  https://www.aphis.usda.gov/animal_welfare/downloads/Animal%20Care%20Policy%
  20Manual.pdf; see also,

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         33.     The American Veterinary Medical Association and the American Association of

  Zoological Veterinarians likewise “condemn” the declawing of Big Cats because the pain and

  suffering associated with it may be exacerbated in wild feline species, and welfare concerns

  associated with declawing are heightened for Big Cats. There is no justification for performing

  the procedure on Big Cats, except as medically necessary on a per-digit basis, which is

  exceedingly rare.

         34.     To declaw a Big Cat, the animal’s toes are amputated at the last joint, a procedure

  that lacerates the animal’s skin and tissue and that can result in permanent lameness, gait

  abnormalities, abnormal standing conformation, arthritis, or other long-term, chronic injury, and

  can cause acute and chronic pain in standing or walking. These injuries interfere with the

  animals’ normal behavior including by inhibiting their ability to climb, scratch, and engage in

  other physical activities.

         35.     Complications from declawing may also cause death, as admitted by Wildlife in

  Need’s veterinarian, who stated during a March 17, 2017, USDA inspection that a tiger at the

  facility had a fifty percent chance of dying from complications resulting from the procedure.

         36.     At least twenty wild felines on Defendants’ premises at the time of the March 17,

  2017, inspection, including many of the Big Cats at issue in this litigation, have been declawed.

  These animals include weeks-old lion and tiger cubs, juvenile tigers and lion-tiger hybrids, two

  adult tigers, and other wild felines. The vast majority of the Big Cats have been declawed within

  the last two years while under the care of and at the direction of Defendants.




  https://www.aphis.usda.gov/animal_welfare/downloads/big_cat/declaw_tooth.pdf.;
  AVMA Executive Board, AVMA now condemns declawing wild and exotic cats, Dec.
  31, 2012, https://www.avma.org/news/javmanews/pages/130115l.aspx.

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         37.     During the March 17, 2017, inspection, the USDA noted one orange and one

  white tiger cub, then approximately five or six weeks in age, who had been declawed

  approximately two weeks earlier. At first, Mr. Stark attempted to conceal these cubs from the

  USDA inspectors according to their inspection reports. The two tiger cubs were brought outside

  to a deck in a crate that was approximately 24 inches long by 18 inches wide. Neither animal

  would walk from the crate onto the wooden deck for inspection, and they had to be physically

  removed from the crate. Each cub had one leg that was bandaged and Mr. Stark told inspectors

  that there were open wounds under the bandages. Their affected paws were significantly swollen,

  spotting blood, and the cubs were struggling to walk, appearing very sore.

         38.     Both tiger cubs appeared distressed, vocalizing nearly the entire time they were

  on the deck. The orange tiger cub immediately lied down on the deck and then, after persuasion,

  moved slowly for only short periods of time before resting in front of the inspectors. After each

  step, there were spots of blood left on the deck from the front paws. The white tiger cub was very

  reluctant to move, walking only when prompted, and exhibiting severe lameness, dragging a hind

  limb and only occasionally bearing very little weight on it. This cub consistently lied down and

  appeared to be suffering throughout the inspection. Mr. Stark told the inspectors that the

  declawing of these cubs was “botched,” and that he concealed the cubs from the inspectors

  because he was afraid he would get in trouble, according to the USDA inspection reports.

         39.     Additional Big Cat cubs possessed by Defendants have been declawed, including

  two lion cubs exhibited during public encounters throughout April 2017, who were declawed on

  the same day as the tiger cubs discussed above. The USDA noted the two declawed lion cubs in

  its March 17, 2017, inspection report. Approximately a dozen more animals were declawed in




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  the prior year by the attending veterinarian, including several tigers, lions, and hybrids of those

  animals.

           40.   Defendants declaw Big Cats for their convenience, rather than because it is

  medically necessary for the animals. According to a March 17, 2017, USDA inspection report,

  Mr. Stark stated that he declaws Big Cats because he “has money,” and “it’s easier.” As noted

  above, Mr. Stark’s conceded practices are both illegal and in violation of generally accepted

  husbandry and veterinary practices, including those recognized by the American Veterinary

  Medical Association, American Association of Zoological Veterinarians, and USDA.

           41.   Upon information and belief, Stark declaws the Big Cat cubs so that he can

  exhibit and display them for profit during interactions with customers, including young children.

           42.   According to the March 17, 2017, USDA inspection report, the Big Cats are

  declawed at Wildlife in Need, rather than at a dedicated surgical site. No Big Cat receives pain

  medication following the amputations because, as Mr. Stark told the USDA inspector, he does

  not believe that the animals are in pain. Mr. Stark did not provide inspectors with records of pain

  management or antibiotics, or any written post-operative care.

           43.   The USDA ordered Mr. Stark no longer to declaw wild carnivores, including the

  Big Cats. On information and belief, Defendants have refused to comply with this order and

  continue, and will continue, to declaw Big Cats in their custody unless they are enjoined by this

  Court.

           44.   Declawing physically injures the Big Cats, psychologically harms them, creates a

  likelihood of further injury to them, and annoys them, by significantly disrupting their normal

  behavioral patterns, in violation of the ESA’s “take” prohibition.




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 B. DEFENDANTS HARM AND HARASS PROTECTED BIG CATS BY SEPARATING THEM FROM
    THEIR MOTHERS, FORCING THEM INTO DIRECT PUBLIC CONTACT, AND HANDLING THEM
    ROUGHLY

           45.   Wildlife in Need routinely exhibits for profit Big Cat cubs who have been

  prematurely separated from their mothers at its “Tiger Baby Playtime” events, charging an

  admission fee and an optional additional photo opportunity fee, and bringing Big Cat cubs into

  direct contact with the public, including children. Using Big Cat cubs in public-handling sessions

  such as these constitutes a “take” and contravenes generally accepted husbandry practices in

  violation of the ESA.

           46.   For captive animals such as Wildlife in Need’s Big Cats, proximity to, or contact

  with, humans is a source of stress and can be extremely harmful to animal well-being. Stress in

  animals compromises immunity, impairs coronary health, alters brain structure and function,

  impairs reproduction, stunts growth, reduces body weight, shortens lifespan, and increases

  abnormal behaviors.

           47.   Mr. Stark and his staff of untrained volunteers routinely agitate the cubs by,

  among other things, shaking, biting, and rubbing them, pulling on their tails, dropping them

  suddenly onto unsuspecting members of the public, making growling sounds at them, and pulling

  their tongues during photo opportunities while they sit on the laps of members of the public. Mr.

  Stark has gone so far as to instruct customers to hit the animals if they express distress or react

  negatively to public handling, and to direct employees and volunteers to hit cubs with riding

  crops.

           48.   Such agitation increases the likelihood of injury to the cubs, thereby harassing

  them. This conduct significantly disrupts the animals’ normal behavioral patterns by making it

  impossible for them to hide or otherwise seek shelter from fear-inducing stimuli, and not only



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  causes them psychological injury but is so distressing that it also places the animals at significant

  risk for physical injury. These species of Big Cats are incapable of understanding the negative

  punishment of being hit by human hands or struck by riding crops, and cannot know what

  behavior is expected of them by their human handlers, resulting in confusion and thus further

  psychological harm. Not only does the direct public contact harm and harass the cubs, but the

  practice of giving visitors access to a “playroom” and denying the cubs an opportunity to retreat

  to an area in which they can escape from the public causes significant distress to captive Big

  Cats.

          49.    Further, given that Big Cats normally spend over three-quarters of their day

  resting and sleeping, physical contact with members of the public forces them to reduce resting

  time and is therefore inherently disruptive to their normal behavior. The constant use of these

  cubs in “Playtime” events without periods of sufficient rest between hourly exhibitions exhausts

  the animals, who often appear lethargic and attempt to sleep even as members of the public

  surround them and handle them. This creates a likelihood of injury because it disrupts normal

  sleep and rest behaviors, which are essential to natural development and physical health, thereby

  harassing and annoying the animals in violation of the ESA.

          50.    Wildlife in Need also allows public contact with Big Cats who have open wounds,

  the severity of which may be exacerbated by allowing bacterial transmission from roomfuls of

  people who handle the animals, thereby further wounding and harming them in violation of the

  ESA.

          51.    These Tiger Baby Playtime events continue, with new cubs being born or arriving

  at Wildlife in Need to replace older cubs as they age and grow larger. The cubs are separated

  from their mothers as infants, well before they are naturally weaned, causing distress to the cubs



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  and their mothers, and other physical and psychological health problems. In the wild, lions nurse

  for an exceptionally long time, having been observed suckling at up to fifteen months of age,

  albeit with decreasing frequency after the first six to eight months of age. Tigers typically wean

  at approximately six months. But at Wildlife in Need, the Big Cat cubs are separated from their

  mothers within weeks of birth and not allowed to nurse naturally, instead being bottle fed by

  human handlers. Maternal separation alters the cubs’ normal feeding behaviors and other natural

  behaviors that, had they been allowed to remain with their mothers, the cubs would have learned

  from their mothers. This creates a risk of injury in the form of weakened immune systems and

  abnormal behavioral development.

         52.     On January 17, 2014, the USDA found that Mr. Stark had willfully violated

  numerous AWA regulations, including 9 C.F.R. § 2.131(c)(1), by allowing the public to come

  into close proximity to tiger cubs who were too large, too strong, and too aggressive to have

  direct contact with the public with minimal risk of harm to the animals and the viewing public.

  The citation came after inspectors observed injuries that uncontrolled Big Cat cubs inflicted on

  the public. The USDA again cited Mr. Stark for this violation on August 20, 2014, and again on

  September 13, 2015. Nonetheless, the Defendants continue to exhibit Big Cat cubs and plan to

  have future events involving the Big Cat cubs.

         53.     Despite being cited and sued by the USDA, Defendants have not stopped their

  unlawful behavior. They continue to allow the public, including untrained volunteers, to make

  physical contact with Big Cat cubs who grow too large, too strong, and become too aggressive to

  have direct contact with members of the public without risk of injury.




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         54.     The USDA’s observations underscore that public contact harms and harasses the

  animals. Indeed, several cubs were observed as vocalizing, a well-recognized sign of

  psychological stress and suffering, while forced to come into direct contact with the public.

         55.     The USDA has, on at least two occasions, suspended Mr. Stark’s license to

  exhibit Big Cats to the public at these “Tiger Baby Playtime” events. See, e.g., Complaint, In re:

  Timothy L. Stark, et al., AWA Docket Nos. 16-0124 and 16-0125 (July 8, 2016) (In 2015, USDA

  suspended Stark’s license for twenty-one days, during which he and Wildlife in Need

  “nevertheless persisted in holding ‘Tiger Baby Playtime’ events wherein tigers, non-human

  primates, and other exotic animals are exhibited to the public together, without any distance or

  barriers, and respondents’ customers are invited to have direct contact with the animals, and

  instructed to hit the animals if they react negatively to the public handling.”). The second

  suspension came in March of 2017, during which Defendants continued to exhibit Big Cat cubs

  in direct contact with the public despite being prohibited from doing so by the suspension of its

  exhibitor license.

         56.     Forcing these predators to interact with humans, denying them the opportunity to

  escape from public interaction, and prematurely separating cubs from their mothers violates

  AWA regulations and is not a generally accepted animal husbandry practice. This practice harms

  the animals, creates a likelihood of injury to them, and annoys them, by significantly disrupting

  their normal behavioral patterns, in violation of the ESA’s “take” prohibition.

 C. DEFENDANTS HARM AND HARASS ENDANGERED BIG CATS BY DENYING THEM SAFE,
    APPROPRIATE HOUSING AND ADEQUATE ENVIRONMENTAL ENRICHMENT

         57.     In the wild, tigers’ territories range from 7.72mi2 to 154.44mi2, depending on the

  availability of prey. Within these ranges, tigers are free to engage in natural behaviors such as

  swimming, climbing, stalking, and predation. They occupy a variety of habitats, typically


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  comprising dense vegetative cover, sufficient prey populations, and access to water. Tigers are

  generally solitary; however, they are known to come together for breeding, feeding, and

  sometimes to socialize and travel in groups.

         58.     Given their natural needs, tigers require large, environmentally rich, natural

  spaces that allow them to express a wide range of behaviors. Captive environments that do not

  provide the environmental enrichment necessary to promote the expression of a full range of

  species-typical behaviors have a detrimental effect on the animals’ physical and psychological

  well-being. Indeed, Big Cats in sterile environments like the one at Wildlife in Need experience

  long periods of inactivity or mindless activity, which results in permanent long-term changes to

  the body, brain, neural, and endocrine systems. Psychological distress can often leave Big Cats

  with higher blood cortisol levels, which can trigger displacement behavior, apathy, learned

  helplessness, and even severe capture myopathy. Enrichment is necessary to deter harmful

  behaviors such as self-mutilation and stereotypical behaviors such as pacing, which has been

  observed in Big Cats at Wildlife in Need. Harmful behaviors such as self-mutilation and pacing,

  in addition to evidencing psychological distress, can lead to other physical injuries, especially

  when declawed animals pace on inappropriate substrates. In the wild or in a reputable sanctuary,

  a Big Cat would have the ability to exercise, explore, and engage in other species-typical

  behaviors.

         59.     Enrichment plans for captive carnivores, including tigers, are difficult to develop

  due to these animals’ natural feeding and hunting behaviors and spatial needs. In inadequate

  captive conditions, thwarted hunting prospects alone appear to cause carnivores like tigers to

  suffer stress, which causes physical and psychological injury. Accordingly, enrichment plans

  should include natural and complex enclosures and environmental enrichment including whole-



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  carcass feeding, novel toys/objects, scratch logs, introduction of new smells, enclosure rotations,

  pools, and adequate space to run.

         60.     In the wild, a lion’s habitat includes open woodlands, thick bush, scrub, and tall

  grassy areas. Ideal habitats provide sufficient cover to facilitate hunting and denning. Wild lions

  mainly hunt at night, traversing distances ranging from one to eight miles each night, depending

  on the availability of food. Female lions do most of the hunting in social groups by stalking and

  ambushing prey, frequently taking prey much larger than themselves.

         61.     Lions are highly social and live in large social groups called prides. For African

  lions, a typical pride structure includes five to nine related adult females and their offspring plus

  two to six males who are unrelated to the females but frequently related to each other. Female

  lions typically stay in their natal prides their entire lives and often develop preferred groupings

  between close relatives such as mother/daughter or siblings. Despite their social nature, however,

  lions need to be able to leave a social structure and choose their social grouping.

         62.     Meeting the physical and psychological needs of captive lions requires providing

  them with the opportunity to socialize with compatible lions, and providing them with necessary

  environmental enrichment so that they are able to express a full range of natural behaviors.

         63.     The Association of Zoos & Aquariums (“AZA”), the nation’s premier zoological

  accrediting organization, recommends that captive lions be provided with “large spacious

  enclosures designed to encourage species appropriate behaviors such as resting, walking,

  [simulated] hunting, stalking, grooming, playing, breeding, etc.” Ass’n of Zoos & Aquariums,

  Lion Care Manual 18 (2012). All enclosures should allow lions to retreat from conspecifics and

  provide visual privacy from humans “through the use of visual barriers, such as rock

  outcroppings, hills, and foliage, without limiting an animal’s access to food, water, heat, or



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  shade.” Id. According to the AZA, the majority of lion exhibits are over 10,000 square feet,

  which should be considered the minimum size for new exhibits, and the typical tiger exhibit is

  between 2,500 and 10,000 square feet, with an average of 5,500 square feet.

         64.     In addition to providing social privacy, enclosures should provide shade and

  include “various substrates, surfaces to mark, deadfall for scratching, and other aspects in their

  enclosure that will change their pathways and create complex behavioral opportunities.” Id.

         65.     Defendants harm and harass protected Big Cats by confining them to small,

  barren enclosures, denying them appropriate, natural and complex housing, and frustrating their

  natural instincts. The enclosures lack enrichment and force Big Cats to walk and rest upon

  inappropriate gravel substrates.

         66.     Defendants also harm and harass Big Cats by depriving them of adequate

  enrichment. Inadequate enrichment thwarts the expression of a range of natural behaviors,

  including, for example, predatory and investigatory behaviors.

         67.     The enclosures at Wildlife in Need do not encourage the Big Cats to engage in

  instinctual and species-specific behaviors, including simulated natural hunting behaviors such as

  stalking and predation, and are therefore inadequate to provide for the animals’ physiological and

  psychological well-being.

         68.     Some of the Big Cats at Wildlife in Need also have been denied appropriate

  shelter from the elements. The AWA requires that animals be provided with adequate shelter

  from inclement weather, 9 C.F.R. § 3.127(b), and sufficient shade from direct sunlight, id.

  § 3.127(a). The USDA has cited Wildlife in Need for failing to provide Big Cats with adequate

  shelter from winter temperatures and weather. According to a USDA inspection report, “The

  lack of wind breaks, or shelters that protect the animals from the rain, sleet, direct sun, and snow



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  can cause possible health issues and discomfort to the . . . animals, that in nature would be able

  to find appropriate shelter from the elements if able.” The inspector noted that snow and rain was

  blowing into an enclosure and that the temperature had been between seven and twenty-one

  degrees Fahrenheit for the week prior to the inspection, with two to three inches of snow on the

  ground during the inspection.

         69.     Failure to provide Big Cats with adequate protection from the elements creates a

  likelihood of injury, including hypothermia and illness, by denying them the ability to engage in

  normal behaviors such as hiding, resting, and sheltering without exposure to inclement weather,

  or choosing to find a more suitable location, thereby harassing them in violation of the ESA.

         70.     On information and belief, the Big Cats’ outdoor enclosures also do not provide

  them with adequate shade from the sun, contrary to generally accepted animal care standards and

  AWA regulation. See 9 C.F.R. § 3.127(a). Denying captive Big Cats necessities such as

  appropriate shelter physically harms them, and significantly disrupts their normal behaviors,

  including sheltering and resting behaviors, in a way that puts their physical and psychological

  well-being at risk of injury.

         71.     Despite the established authority on the environmental needs of Big Cats,

  Defendants continue to confine them in inappropriate and unsafe environments, without

  necessary enrichment, and therefore wholly fail to meet their physical, social, and psychological

  needs. These inadequate conditions cause the Big Cats to suffer psychological injury. The

  conditions further harm the Big Cats’ physical and psychological health by depriving them of the

  ability to express a full range of natural behaviors such as simulated predatory behaviors,

  investigatory behaviors, and social avoidance behaviors, including the autonomy to choose to

  engage with or avoid others, which are central to their physical and psychological well-being.



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  Further, Defendants harass Big Cats by depriving them the ability to express simulated natural

  hunting behaviors such as stalking and predation, creating a likelihood of injury to them by

  annoying the Big Cats to such an extent as to significantly disrupt normal feeding behavioral

  patterns.

         72.     The conditions in which these Big Cats are kept thus constitute, and will continue

  to constitute, a “take” in violation of the ESA.

  VI.    DEFENDANTS’ ACTIONS HAVE FRUSTRATED PETA’S MISSION,
         PERCEPTIBLY IMPAIRED ITS ACTIVITIES AND PROGRAMS, AND
         FORCED IT TO DIVERT RESOURCES

  A.     PETA’S MISSION AND PROGRAMS

         73.     PETA is dedicated to protecting animals, including protecting exotic animals and

  other animals (including the Big Cats) used in entertainment from abuse, neglect, and cruelty and

  from dangerous public encounters.

         74.     To achieve its objectives of ending the abuse and neglect of animals used for

  entertainment, PETA pursues several programs, including educating the public about the very

  serious harms that animals suffer when used as mere props for photo sessions and public

  encounters. PETA brings this suit on its own behalf to protect its mission and programs, which

  have been perceptibly impaired by Wildlife in Need’s actions.

         75.     By unlawfully wounding, harming, and harassing federally protected Big Cats,

  Defendants directly frustrate PETA’s mission to eliminate the abuse and neglect of animals for

  entertainment. Unlawfully wounding, harming, and harassing these animals increases the number

  of animals subject to abuse and neglect in entertainment. If PETA prevails in this action,

  Defendants will no longer be able to frustrate PETA’s mission and maintain federally protected

  animals in unlawful conditions.



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         76.     Defendants falsely hold themselves out as a rescue facility when, in fact, they

  actively wound, harm, and harass Big Cats and perpetuate the abuse and neglect of Big Cats for

  entertainment purposes. By presenting themselves as a refuge for abandoned and unwanted

  endangered and threatened animals, Defendants create the false and incorrect public impression

  that the Defendants are providing an essential rescue service and that but for the Defendants’

  efforts, the federally protected animals at Wildlife in Need would not be adequately provided for.

         77.     Continuing to wound, harm, and harass the federally protected animals at Wildlife

  in Need without repercussion under the ESA thus creates the incorrect public impression that

  Defendants are engaged in conduct that is consistent with animal welfare when they declaw Big

  Cats, confine them to small, barren enclosures, separate them prematurely from their mothers,

  and allow the public to make physical contact with apex predators.

         78.     In addition to creating public misimpressions regarding the propriety of their

  conduct, Defendants perpetuate highly damaging public encounters with Big Cat cubs and then

  discard those Big Cat cubs after they grow too large for public encounters, relegating them to

  inhumane enclosures or to other roadside zoos as part of a vicious cycle in which Big Cats are

  bred, abused, and discarded to languish in squalid and inhumane conditions—only to be bred

  again so that their offspring can endure the same harm and harassment. This conduct is not

  acceptable; not consistent with animal welfare; constitutes animal abuse, mistreatment or

  neglect; and, as alleged in this Complaint, violates the ESA. This frustrates PETA’s mission and

  core programs by proliferating the abuse of animals in entertainment and making it harder to

  persuade the public that it should not tolerate or otherwise support these harmful practices. If

  PETA prevails in this action, PETA will not have to counteract the misimpression and




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  misrepresentations created by Defendants or otherwise address the cyclical harms caused by their

  conduct.

  B. IMPAIRMENT OF PETA’S ACTIVITIES AND DIVERSION OF ITS RESOURCES

         79.     By wounding, harming, and harassing the threatened and endangered Big Cats at

  Wildlife in Need, Defendants subject animals to abuse and neglect in entertainment, create the

  incorrect public impression that the conditions in which these animals are kept are humane and

  lawful. Cubs bred at or obtained by Defendants are exploited for public contact, photography

  sessions, and the like, then typically discarded to inhumane enclosures, other roadside

  menageries, or individual owners after they have grown too large, strong, and aggressive to come

  into contact with the general public. As set forth above, this abuse and proliferation of juvenile

  and adult Big Cats frustrates PETA’s mission of protecting these animals from abuse for

  entertainment purposes. Based on USDA inspection reports, ESA violations and permit denials,

  and first-hand observation, Defendants have the worst animal welfare record of any active Big

  Cat exhibitor in Indiana—and, possibly, the United States.

         80.     As a result, PETA has been forced to divert resources in order to try to help the

  animals at Wildlife in Need by educating the public regarding the harmful nature of the

  exploitive public encounters that Wildlife in Need perpetuates and counteracting the public

  impression that Wildlife in Need’s practices are consistent with the ESA and animal welfare.

  Among other activities, PETA has been and continues to be forced to: monitor the Defendants,

  submit complaints about Wildlife in Need to government agencies, including several requests for

  investigation to USDA, and requests for investigation to FWS and the Indiana Department of

  Natural Resources, about the treatment of Big Cats at the facility; submit complaints to the

  Internal Revenue Service regarding the Tiger Baby Playtime events and Big Cat breeding at



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  Wildlife in Need, which are not conducted for charitable or tax-exempt purposes, but rather for

  profit; submit official comments to FWS regarding Mr. Stark’s ESA permit application, in which

  PETA presented evidence of his citations for abusing Big Cat cubs at the Tiger Baby Playtime

  events, among evidence of other takes of endangered species; post on the PETA.org blog and

  social media regarding Wildlife in Need’s treatment of Big Cats; review and respond to

  complaints from the public about Wildlife in Need; compile and publish information on PETA’s

  website about Wildlife in Need’s history of animal-welfare violations and abuse; campaign to

  educate the public on the harmful effects of the public encounters that Wildlife in Need

  perpetuates; and distribute press releases on Wildlife in Need’s mistreatment of animals, and

  pursue this litigation.

          81.     PETA’s ongoing need to expend resources to investigate and counteract the

  Defendants’ unlawful wounding, harm, and harassment of federally protected Big Cats at

  Wildlife in Need has perceptibly impaired PETA’s ability to advance its mission. Wildlife in

  Need’s activities frustrate PETA’s overall mission by perpetuating harmful and exploitative

  encounters, taking endangered Big Cats in violation of the ESA, and misleading the public about

  the harms these animals suffer for entertainment purposes. Specifically, the expenses incurred

  identifying and counteracting the Defendants’ illegal activity has forced PETA to divert

  resources away from campaigns on behalf of other wild animals exploited for entertainment, and

  from funding animal rescues, among other efforts.

          82.     If PETA prevails in this action, the Defendants will no longer be able to maintain

  the Big Cats in conditions that are inconsistent with the ESA and animal welfare, and PETA will

  no longer have to divert resources to counteract the incorrect public impression caused by

  Defendants’ unlawful acts or to counteract the unlawful acts themselves.



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         83.     PETA’s ongoing efforts and the resulting expenditures would not be necessary

  but for Defendants’ unlawful taking of federally protected Big Cats.

  VII.   CLAIMS FOR RELIEF

                         Count I—Unlawful “Take” of Protected Species

         84.     PETA incorporates by reference all allegations of the Complaint.

         85.     The Endangered Species Act, 16 U.S.C. § 1538(a)(1)(B), (G) and its

  implementing regulations, 50 C.F.R. §§ 17.21, 17.31(a), prohibit the “take” of “any [listed]

  species” not otherwise provided for by a Section 4(d) special rule, within the United States

  without a permit.

         86.     Defendants have violated and continue to violate the ESA and its implementing

  regulations by taking tigers, lions, and hybrids thereof within the meaning of the ESA, without a

  permit, at Wildlife in Need.

         87.     This Court has the authority to issue an injunction prohibiting Defendants from

  committing further violations of the ESA and ordering them to relinquish possession of the

  tigers, lions, and hybrids thereof to appropriate reputable sanctuaries. 16 U.S.C. § 1540(g)(1)(a).

         88.     There is ample reason to believe that Defendants will continue to declaw the Big

  Cats and to use the Big Cat cubs in their “Tiger Baby Playtime” events unless they are enjoined

  and restrained from such illegal conduct. Indeed, Defendants have repeatedly confirmed that they

  will declaw the Big Cats and use the Big Cat cubs in the public encounters known as “Tiger

  Baby Playtime.”

         89.     PETA has a substantial likelihood of succeeding on the merits.

         90.     The harm to the Big Cats and the Big Cat cubs from declawing (i.e., amputation

  of their digit at the joint) and from the “Tiger Baby Playtime” events (i.e., distress and other



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  physical and psychological health problems) is permanent and irreparable and substantially

  outweighs any harm to Defendants (i.e., risk of getting scratched by the Big Cats and not being

  able to use the Big Cat cubs in their “Tiger Baby Playtime” events) if immediate injunctive relief

  is not issued.

          91.      As a result of Defendants’ unlawful conduct, the Big Cats and Big Cat cubs have

  suffered and will continue to suffer immediate and irreparable physical and psychological harm

  for which there is no adequate remedy at law.

          92.      Defendants, on the other hand, will suffer virtually no harm by simply being

  ordered to comply with the ESA.

          93.      The public interest will be served by enjoining and restraining Defendants’

  unlawful and improper conduct as it will prevent further violations of the ESA.

          94.      PETA is prepared to post any reasonable security for the relief being requested

  herein in an amount that this Court considers just and proper.

          95.      Defendants should therefore be temporarily restrained and preliminarily enjoined

  from declawing the Big Cats in their possession, custody, and control pursuant to Fed. R. Civ. P.

  65.

            Count II—Unlawful Possession of Species Taken in Violation of the ESA

          96.      PETA incorporates by reference all allegations of the Complaint.

          97.      The Endangered Species Act, 16 U.S.C. § 1538(a)(1)(D), (G) and implementing

  regulations, 50 C.F.R. §§ 17.21(d), 17.31(a), prohibit the possession, by any means whatsoever,

  of any species taken in violation of the ESA.




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         98.     Defendants have violated and continue to violate the ESA and its implementing

  regulations by possessing and continuing to possess unlawfully taken species, including tigers,

  lions, and hybrids thereof, within the meaning of 16 U.S.C. § 1538(a)(1)(D) and (G).

         99.     This Court has the authority to issue an injunction prohibiting Defendants from

  continuing to possess tigers, lions, and hybrids thereof in violation of 16 U.S.C. § 1538(a)(1)(D)

  and (G) and 50 C.F.R. §§ 17.21(d), 17.31(a), 17.40(r), and ordering them to relinquish

  possession of these animals to appropriate reputable sanctuaries. 16 U.S.C. § 1540(g)(1)(A).

                                           Relief Requested

         WHEREFORE, PETA respectfully requests that this Court:

         A.      Declare that Defendants are violating the ESA by illegally taking tigers, lions, and

  hybrids thereof, 16 U.S.C. § 1538(a)(1)(B), (G); 50 C.F.R. §§ 17.21(c), 17.31(a), 17.40(r);

         B.      Declare that Defendants have violated and continue to violate the ESA by

  possessing tigers, lions, and hybrids thereof, who have been illegally taken, 16 U.S.C.

  § 1538(a)(1)(D), (G); 50 C.F.R. §§ 17.21(d)(1), 17.31(a), 17.40(r);

         C.      Temporarily and permanently enjoin and restrain Defendants from continuing to

  violate the ESA and its implementing regulations with respect to tigers, lions, and hybrids

  thereof, including the prohibitions on taking a listed species and possessing a listed species that

  has been unlawfully taken;

         D.      Temporarily and permanently enjoin and restrain Defendants from owning or

  possessing endangered or threatened species, or hybrids thereof, in the future;

         E.      Temporarily and permanently enjoin and restrain Defendants from declawing any

  of the Big Cats in their possession, custody, or control;




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         F.      Temporarily and permanently enjoin and restrain Defendants from separating Big

  Cat cubs from their mothers and publically displaying them in the public encounters known as

  the “Tiger Baby Playtime”;

         G.      Enter a permanent injunction against Defendants that terminates all Defendants’

  ownership and possessory rights with respect to the tigers, lions, and hybrids thereof;

         H.      Appoint a special master or guardian ad litem to identify reputable wildlife

  sanctuaries and to determine the most appropriate placement for the forfeited animals, consistent

  with the animals’ best interests;

         I.      Award PETA reasonable attorneys’ fees and litigation costs (including expert

  witness expenses) for this action, 16 U.S.C. § 1540(g)(4); and

         J.      Grant PETA such other and further relief as the Court deems just and proper.



  Date    September 29, 2017                      Respectfully submitted,

                                                  PLAINTIFF PEOPLE FOR THE ETHICAL
                                                  TREATMENT OF ANIMALS

                                                  By: /s/ Yeny C. Ciborowski
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